Case 1:20-cv-00052-SPW Document 267-9 Filed 09/27/23 Page 1 of 3

From: Brett Jensen
To: Katy Gannon
Cc: Ryan Shaffer; Rob Stepans; Jessica Yuhas; Jon Wilson; Michael Sarabia; Gerry Fagan; “Christopher Sweeney";
i Id; Joel Taylor; Jared Brannan
Subject: RE: Rule 35 Exam
Date: Friday, June 23, 2023 11:41:06 AM
Attachments: Blank-Authorization for Assessment IC-Aspen Practice 2023.pdf
Client Prep.pdf
Hi Katy:

Here are the additional referenced documents.

Brett C. Jensen
Brown Law Firm, P.C.

315 North 24"? Street

P.O. Drawer 849

Billings, MT 59103-0849
Telephone: (406) 248-2611
Fax: (406) 248-3128

Confidentiality Notice: The information contained in this e-mail communication and any attached
documentation may be privileged, confidential or otherwise protected from disclosure and is intended
only for the use of the designated recipient(s). This information, along with any attachments,
constitutes attorney-client and/or attorney work product and is confidential in nature. This
information is not intended for transmission to, or receipt by, any unauthorized person. The use,
distribution, transmittal or re-transmittal by an unintended recipient of this communication is strictly
prohibited without our express approval in writing or by e-mail. If you are not the intended recipient
of this e-mail, please delete it from your system without copying it and notify the above sender so
that our e-mail address may be corrected. Receipt by anyone other than the intended recipient is not
a waiver of any attorney-client or work-product privilege.

From: Brett Jensen

Sent: Friday, June 23, 2023 10:13 AM

To: 'Katy Gannon! <katy@mss-lawfirm.com>

Cc: Ryan Shaffer <ryan@mss-lawfirm.com>; Rob Stepans <rob@mss-lawfirm.com>; Jessica Yuhas
<jessica@mss-lawfirm.com>; Jon Wilson <jwilson@brownfirm.com>; Michael Sarabia
<MSarabia@brownfirm.com>; Gerry Fagan <Gerry.Fagan@moultonbellingham.com>; ‘Christopher
Sweeney’ <Christopher. Sweeney@moultonbellingham.com>; Jordan W. FitzGerald
<Jordan.FitzGerald@moultonbellingham.com>; Joe! Taylor <jtaylor@mmt-law.com>; Jared Brannan
<jbrannan@mmt-law.com>

Subject: RE: Rule 35 Exam

Hi Katy:

Please see the attached memorandum, which has been workshopped with all defense counsel and

EXHIBIT

Dr. Butz. A couple technical matters we will need to settle on:

Case 1:20-cv-00052-SPW Document 267-9 Filed 09/27/23 Page 2 of 3

1. Where in Australia will the exam need to occur for Ms. Mapley? I’m not certain what town
she resides in and what kinds of services are available there. | assume if she lives quite rural,
she would need to travel to a town large enough that Dr. Butz can at least reserve a hotel
conference room with sufficient amenities for her evaluation to occur.

2. Same consideration for Ms. Caekaert.

3. As to #6, the referenced letters are attached.

4, As to #7, | have requested Dr. Butz’s authorizations to incorporate into the agreement and will
supply those when received. | am attaching the studies by Kaufmann and Morel referenced in
support of Dr. Butz’s position regarding raw testing data.

5. As to #8, Dr. Butz’s A-V recording agreement is attached.

Brett C. Jensen
Brown Law Firm, P.C.

315 North 24° Street

P.O. Drawer 849

Billings, MT 59103-0849
Telephone: (406) 248-2611
Fax: (406) 248-3128

Confidentiality Notice: The information contained in this e-mail communication and any attached
documentation may be privileged, confidential or otherwise protected from disclosure and is intended
only for the use of the designated recipient(s). This information, along with any attachments,
constitutes attorney-client and/or attorney work product and is confidential in nature. This
information is not intended for transmission to, or receipt by, any unauthorized person. The use,
distribution, transmittal or re-transmittal by an unintended recipient of this communication is strictly
prohibited without our express approval in writing or by e-mail. If you are not the intended recipient
of this e-mail, please delete it from your system without copying it and notify the above sender so
that our e-mail address may be corrected. Receipt by anyone other than the intended recipient is not
a waiver of any attorney-client or work-product privilege.

From: Katy Gannon <katv@mss-lawfirm.com>

Sent: Monday, June 12, 2023 3:58 PM

To: Brett Jensen <Blensen@brownfirm.com>

Cc: Ryan Shaffer <pyvan@mss-lawfirm.com>; Rob Stepans <reb@mss-lawfirm.com>; Jessica Yuhas
<jessica@mss-lawfirm.com>; Jon Wilson <jwilson@brownfirm.com>; Michael Sarabia
<MSarabia@ brownfirm.com>

Subject: Rule 35 Exam

Hey Brett,

We received your letter dated 06/01/2023 regarding the Rule 35 Evaluation. Will you send us your
proposed Memorandum of Agreement outlining the areas we do agree upon at this time and a list of
issues we will need to have addressed by the Court if no agreement can be reached?
Case 1:20-cv-00052-SPW Document 267-9 Filed 09/27/23 Page 3 of 3

Additionally, we will agree to pay for Dr. Butz to travel to Cami and Tracy.
Thanks,

Katy Gannon
Associate Attorney

Meyer, Shaffer

& Stepans, pip

Montana Office:
430 Ryman St.
Missoula, MT 59802
Tel: 406-543-6929
Fax: 406-721-1799

Wyoming Office:

3490 Clubhouse Drive, Suite 104
Wilson, WY 83014

Tel: 307-734-9544

Fax: 307-733-3449

The information contained in this email is confidential and privileged. If you are not the intended
recipient, please ignore and delete this message and inform the sender of the mistake. This email
may be subject to the attorney client privilege and attorney work product doctrine. If you are not the
intended recipient, please ignore and delete this message and inform the sender of the mistake.
